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                                                                                                     HORAN,JURY
                                     U.S. District Court
                              Northern District of Texas (Dallas)
                        CIVIL DOCKET FOR CASE #: 3:17−cv−03005−K

Display Technologies LLC v. Yamaha Corporation of America           Date Filed: 10/31/2017
Assigned to: Judge Ed Kinkeade                                      Jury Demand: Plaintiff
Cause: 35:271 Patent Infringement                                   Nature of Suit: 830 Property Rights: Patent
                                                                    Jurisdiction: Federal Question
Plaintiff
Display Technologies LLC                             represented by Thomas C Wright
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V.
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Date Filed    #   Docket Text

10/31/2017   Ï1   COMPLAINT WITH JURY DEMAND against Yamaha Corporation of America filed by Display
                  Technologies, LLC. (Filing fee $400; Receipt number 0539−8773857) Plaintiff will submit
                  summons(es) for issuance. In each Notice of Electronic Filing, the judge assignment is indicated,
                  and a link to the Judges Copy Requirements is provided. The court reminds the filer that any
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                    required copy of this and future documents must be delivered to the judge, in the manner
                    prescribed, within three business days of filing. Unless exempted, attorneys who are not admitted to
                    practice in the Northern District of Texas must seek admission promptly. Forms, instructions, and
                    exemption information may be found at www.txnd.uscourts.gov, or by clicking here: Attorney
                    Information − Bar Membership. If admission requirements are not satisfied within 21 days, the
                    clerk will notify the presiding judge. (Attachments: # 1 Exhibit(s) − A, # 2 Exhibit(s) − B, # 3
                    Cover Sheet) (Wright, Thomas) (Entered: 10/31/2017)

10/31/2017    Ï2    New Case Notes: A filing fee has been paid. Pursuant to Misc. Order 6, Plaintiff is provided the
                    Notice of Right to Consent to Proceed Before A U.S. Magistrate Judge (Judge Horan). Clerk to
                    provide copy to plaintiff if not received electronically. (epm) (Entered: 10/31/2017)

10/31/2017    Ï3    Report to Patent/Trademark Office of Initiating Document. Form AO 120 e−mailed to
                    notice_of_suit@uspto.gov. (epm) (Entered: 10/31/2017)

10/31/2017    Ï4    CERTIFICATE OF INTERESTED PERSONS/DISCLOSURE STATEMENT by Display
                    Technologies LLC. (Wright, Thomas) (Entered: 10/31/2017)

11/02/2017    Ï5    Request for Clerk to issue Summons filed by Display Technologies LLC. (Wright, Thomas)
                    (Entered: 11/02/2017)

11/02/2017    Ï6    Summons Issued as to Yamaha Corporation of America. (ykp) (Entered: 11/02/2017)

11/06/2017     Ï    Pursuant to Special Order 3−287, which addresses the assignment of patent cases, this case is
                    reassigned to Judge Ed Kinkeade. Future references to this case shall be indicated as
                    3:17−cv−3005−K. Judge Sidney A Fitzwater no longer assigned to case. (axm) (Entered:
                    11/06/2017)

11/27/2017    Ï7    Unopposed MOTION to Extend Time to Respond to Plaintiff's Complaint for Patent Infringement
                    filed by Yamaha Corporation of America (Attachments: # 1 Proposed Order)Attorney Michael E
                    Jones added to party Yamaha Corporation of America(pty:dft) (Jones, Michael) (Entered:
                    11/27/2017)

11/27/2017    Ï8    MOTION for Leave to Proceed Without Local Counsel − Unopposed filed by Yamaha Corporation
                    of America (Attachments: # 1 Proposed Order) (Jones, Michael) (Entered: 11/27/2017)

11/27/2017    Ï9    ELECTRONIC ORDER granting 7 Unopposed Motion for an Extension of Time to Respond to
                    Plaintiff's Complaint. Responses due by 12/28/2017. (Ordered by Judge Ed Kinkeade on
                    11/27/2017) (chmb) (Entered: 11/27/2017)

12/05/2017   Ï 10   ORDER: Before the Court is Defendant Yamaha Corporation of America's ("Yamaha") Unopposed
                    Motion for Leave to Proceed Without Local Counsel (Doc. No. 8 ). The Court DENIES the motion.
                    Defendant Yamaha must retain and designate local counsel in accordance with Local Rule 83.10
                    within twenty (20) days from the date this order is signed. (Ordered by Judge Ed Kinkeade on
                    12/5/2017) (sss) (Entered: 12/06/2017)

12/14/2017   Ï 11   SUMMONS Returned Executed as to Yamaha Corporation of America ; served on 11/7/2017.
                    (Wright, Thomas) (Entered: 12/14/2017)

12/26/2017   Ï 12   NOTICE of Attorney Appearance by James Goff for Jeffrey M. Tillotson on behalf of Yamaha
                    Corporation of America. (Goff, James) (Entered: 12/26/2017)

12/27/2017   Ï 13   Unopposed Motion for Extension of Time to File Answer to Complaint for Patent Infringement
                    filed by Display Technologies LLC (Attachments: # 1 Proposed Order) (Wright, Thomas) (Entered:
                    12/27/2017)

12/27/2017   Ï 14   ELECTRONIC ORDER granting 13 Motion for Extension of Time to File Answer or Respond.
                    Yamaha Corporation of America answer or response due 1/29/2018. (Ordered by Judge Ed
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                    Kinkeade on 12/27/2017) (chmb) (Entered: 12/27/2017)

01/29/2018   Ï 15   Unopposed MOTION to Transfer Case out of District/Division filed by Yamaha Corporation of
                    America (Attachments: # 1 Proposed Order) (Tillotson, Jeffrey) (Entered: 01/29/2018)

02/01/2018   Ï 16   ORDER: Before the Court is Defendant Yamaha Corporation of America's Unopposed Motion to
                    Transfer Venue (Doc. No. 15 ). The Court GRANTS this motion. This case is hereby transferred to
                    the United States District Court for the Central District of California. (Ordered by Judge Ed
                    Kinkeade on 2/1/2018) (sss) (Entered: 02/02/2018)
